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                                                               United States Bankruptcy Court
                                                                     Eastern District of Kentucky
 In re      Eastern Air Flow, L.L.C.                                                                        Case No.   18-51740
                                                                                 Debtor(s)                  Chapter    7



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Justin Todd Trout, declare under penalty of perjury that I am the President of Eastern Air Flow, L.L.C., and
that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the 20th day of September, 2018.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Justin Todd Trout, President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Justin Todd Trout, President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

      Be It Further Resolved, that Justin Todd Trout, President of this Corporation is authorized and directed to
employ Matthew B. Bunch, attorney and the law firm of Bunch & Brock, PSC to represent the corporation in such
bankruptcy case."

 Date      September 20, 2018                                                  Signed   /s/ Justin Todd Trout
                                                                                        Justin Todd Trout




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                          Eastern Air Flow, L.L.C.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

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employ Matthew B. Bunch, attorney and the law firm of Bunch & Brock, PSC to represent the corporation in such
bankruptcy case.

 Date      September 20, 2018                                                     Signed    /s/ Justin Todd Trout
                                                                                            Justin Todd Trout




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